The Attorney General is in receipt of your request for an opinion in which you asked for clarification of Opinion No. 78-247 with substantially the following question: Must the director of Central Purchasing restrict purchases to the exact specifications of agencies requisitioning goods through Central Purchasing, in cases other than sole source affidavit requisitions? Opinion No. 78-247 concerned the interpretation of 74 O.S. 89 [74-89] (1971), "sole source requisitions", and has apparently caused some confusion by its final paragraph which stated as follows: "It is therefore the opinion of the Attorney General that your question be answered as follows: The requisitioning agency has the authority to submit detailed specifications when requesting the Central Purchasing Division to acquire items for the agency's use. The Central Purchasing Division is required to comply strictly with the specifications set out in the requisition " The provisions of 74 O.S. 85.5 [74-85.5] (1971) plainly and unambiguously sets forth the authority and responsibility of the State Purchasing Director with the following language.  "74 O.S. 85.5 [74-85.5] Exclusive Authority of Director-Rules and Regulations by Board; Subject to the provisions of 4, the State Purchasing Director under the supervision of the State Board of Public Affairs, shall have sole and exclusive authority and responsibility for the acquisition of all materials, supplies, equipment and services acquired, used or consumed by agencies of the State Government. The State Purchasing Director after consultation with the requesting or purchasing agency, shall have authority to determine the particular brand, model, and/or other specific classification of each item or group of materials, supplies, or equipment or services to be acquired for such use or consumption, and to draft specifications establishing the requirements for all such purchases under the restrictions hereinabove provided." A plain reading of the above provision clearly establishes the "exclusive authority" of the State Purchasing Director in requisitions subject only to the provisions of 74 O.S. 85.4 [74-85.4], which authorizes the purchasing State agency to determine its own "quantitative needs", and allows said agency to determine "the general class or nature of supplies, equipment, materials or services, subject to the provisions of 74 O.S. Section 5[74-5] [74-5] (85.5)." Agency authority is therefore limited to 'general classifications', with the State Purchasing Director having the more specific authority of determining "particular brand, model and/or specific classification of each item etc." Only when this general classification limits a requisition to one particular item does the final paragraph of Opinion No. 78-247 become effective.  It is, therefore, the opinion of the Attorney General that the State Purchasing Director is not restricted to exact specifications in agency requisitions in cases other than sole source affidavit requisitions.  (JOHNNY J. AKINS) (ksg)